                   EXHIBIT A




Case 1:22-cv-00828-TDS-JEP   Document 288   Filed 01/13/25   Page 1 of 27
From:                O'Toole, Daniel
Sent:                Friday, January 10, 2025 2:57 PM
To:                  Elliot Gee; English, Melissa; Matthew Dowd
Cc:                  McClammy, James I.; Miller, Benjamin M.; Thomson, Daniel J.; PKane@foxrothschild.com;
                     SPlacey@foxrothschild.com
Subject:             RE: FTC et al. v. Syngenta et al. (No. 1:22-cv-00828) & In re Crop Protection Products Loyalty Program
                     Antitrust Litigation (No. 1:23-md-3062-TDS-JEP)
Attachments:         2025.01.10.Miller.to.Dowd.re.Subpoena.pdf


Matt, Elliot,



Best,
Dan


Daniel O'Toole
Davis Polk & Wardwell LLP
+1 202 962 7166 office
+1 203 883 1123 mobile
daniel.otoole@davispolk.com


From: O'Toole, Daniel <daniel.otoole@davispolk.com>
Sent: Wednesday, January 8, 2025 10:58 AM
To: Elliot Gee <egee@dowdscheffel.com>; English, Melissa <melissa.english@davispolk.com>; Matthew Dowd
<mdowd@dowdscheffel.com>
Cc: McClammy, James I. <james.mcclammy@davispolk.com>; Miller, Benjamin M. <benjamin.miller@davispolk.com>;
Thomson, Daniel J. <daniel.thomson@davispolk.com>; PKane@foxrothschild.com; SPlacey@foxrothschild.com
Subject: RE: FTC et al. v. Syngenta et al. (No. 1:22-cv-00828) & In re Crop Protection Products Loyalty Program Antitrust
Litigation (No. 1:23-md-3062-TDS-JEP)



Best,
Dan



Daniel O'Toole
Davis Polk & Wardwell LLP
+1 202 962 7166 office
+1 203 883 1123 mobile
daniel.otoole@davispolk.com


From: Elliot Gee <egee@dowdscheffel.com>
Sent: Tuesday, January 7, 2025 8:00 PM
To: O'Toole, Daniel <daniel.otoole@davispolk.com>; English, Melissa <melissa.english@davispolk.com>; Matthew Dowd
<mdowd@dowdscheffel.com>
Cc: McClammy, James I. <james.mcclammy@davispolk.com>; Miller, Benjamin M. <benjamin.miller@davispolk.com>;
                                                            1



            Case 1:22-cv-00828-TDS-JEP              Document 288          Filed 01/13/25       Page 2 of 27
Thomson, Daniel J.<daniel.thomson@davispolk.com>; PKane@foxrothschild.com; SPlacey@foxrothschild.com
Subject: Re: FTC et al. v . Syngenta et al. (No. 1:22-cv-00828) & In re Crop Protection Products Loyalty Program Antitrust
Litigation (No. 1:23-md-3062-TDS-JEP)

Daniel,



Sincerely,

Elliot Gee
Associate,


 DOWD
 SCHEFFEL
 --PLLC--

1717 Pennsylvania Avenue, NW , Suite 1025 I Washington, DC 20006
Office: 202.559.9175 I Direct : 650.534.5302
http://www.dowdscheffel.com




From: O'Toole, Daniel <daniel.otoole@davispolk.com>
Date: Monday, December 30, 2024 at 11 :39 AM
To: English, Melissa <meUssa.eo2lish@davispolk com>, Elliot Gee <e2ee@dowdscheffel com>,
Matthew Dowd <mdowd@dowdscheffel.com>
Cc: McClammy, James I.<james.mcclammy@davispolk.com>, Miller, Benjamin M.
< benjamio,miller@dayjspolk com>, Thomson, Daniel J. <danjel thomson@davispolk.com >, Kane,
Patrick M.<PKane@foxrothschild.com>, Placey, Sean <SPlacey@foxrothschild.com>
Subject: RE: FTC et al. v. Syngenta et al. (No. 1 :22-cv-00828) & In re Crop Protection Products Loyalty
Program Antitrust Litigation (No. 1 :23-md-3062-TDS-JEP)

Matt, Elliott,




Thanks,
Dan
Daniel O'Toole
Davis Polk & Wardwell LLP
+1 202 962 7166 office
+1 203 883 1123 mobile
daniel.otoo l e@davispolk.com


From: English, Melissa <melissa.english@davispolk.com>
Sent: Friday, December 20, 2024 11:33 AM
To: Elliot Gee <egee@dowdscheffel.com>; Matthew Dowd <mdowd@dowdscheffel.com>

                                                             2



             Case 1:22-cv-00828-TDS-JEP              Document 288         Filed 01/13/25        Page 3 of 27
Cc: Mccl ammy, James I. <james.mcclammy@davispolk.com>; Miller, Benjamin M. <benjamin.miller@davispolk.com>;
Thomson, Daniel J. <daniel.thomson@davispolk.com>; O' Toole, Dani el <daniel.otoole@davispolk.com>; Kane, Patrick M.




-
<PKane@foxrothschild.com>; Placey, Sean <SPlacey@foxrothschild.com>
Subject: RE: FTC et al. v. Syngenta et al. (No. 1:22-cv-00828) & In re Crop Protection Products Loyalty Program Antitrust
Litigation (No. 1:23-md-3062-TDS-JEP)




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            Case 1:22-cv-00828-TDS-JEP              Document 288         Filed 01/13/25       Page 4 of 27
Best,
Melissa
Melissa English
+1 212 450 3434 office
+1 646 603 9972 mobile
melissa.english@davispolk.com


Davis Polk & Wardwell LLP
Confi<lential ity Note: This email is intendeo only for the person or entity to which it is addresseo and may contain information that is privi lege<!, confidentia l or otherwise
protecteo from d isc losure. Unauthorized use, dissem ination, distribution or copying of this email or he information herein or taking any ac ion in reliance on the contents of
this emai l or the information herein, by anyone other han the intended recipient, or an employee or agent responsible for delivering the message to the intended rec ipient, is
strictly prohibited. If you have received this emai l in error, please notify the sender imme<l iately and destroy the original message, any attachments thereto and all copies.
Please refer to the firm's priVacy notice for important information on how we process personal data. Our website is at davispolk.com.



From: Elliot Gee <egee@dowdscheffel.com>
Sent: Wednesday, December 18, 2024 10:07 AM
To: O'Toole, Daniel <daniel.otoole@davispolk.com>; Matthew Dowd <mdowd@dowdscheffel.com>; Kane, Patrick M.
<PKane@foxrothschild.com>
Cc: Mcclammy, James I. <james.mcclammy@davispolk.com>; Miller, Benjamin M. <benjamin.miller@davispolk.com>;
Thomson, Daniel J.<daniel.thomson@davispolk.com>; English, Melissa<melissa.english@davispolk.com>; Placey, Sean
<SPlacey@foxrothschild.com>
Subject: Re: FTC et al. v . Syngenta et al. (No. 1:22-cv-00828) & In re Crop Protection Products Loyalty Program Antitrust
Litigation (No. 1:23-md-3062-TDS-JEP)

Daniel,



Sincerely,

Elliot Gee
Associate,


  DOWD
  SCHEFFEL
  ---PLLC---

1717 Pennsylvania Avenue, NW, Suite 1025 I Washington, DC 20006
Office: 202.559.9175 I Direct: 650.534.5302
bttp:/lwww.dowdschettet com



From: O'Toole, Daniel <daniel.otoole@davispolk com >
Date: Wednesday, December 18, 2024 at 9:28 AM

                                                                                         4



                 Case 1:22-cv-00828-TDS-JEP                                  Document 288                    Filed 01/13/25                Page 5 of 27
To: Elliot Gee <egee@dowdscheffel.com>, Matthew Dowd <mdowd@dowdscheffel.com>, Kane, Patrick
M. <PKane@foxrothschild.com>
Cc: McClammy, James I. <james.mcclammy@davispolk.com>, Miller, Benjamin M.
<benjamin.miller@davispolk.com>, Thomson, Daniel J. <daniel.thomson@davispolk.com>, English,
Melissa <melissa.english@davispolk.com>, Placey, Sean <SPlacey@foxrothschild.com>
Subject: RE: FTC et al. v. Syngenta et al. (No. 1:22-cv-00828) & In re Crop Protection Products Loyalty
Program Antitrust Litigation (No. 1:23-md-3062-TDS-JEP)



Daniel O'Toole
Davis Polk & Wardwell LLP
+1 202 962 7166 office
+1 203 883 1123 mobile
daniel.otoole@davispolk.com


From: Elliot Gee <egee@dowdscheffel.com>
Sent: Tuesday, December 17, 2024 5:36 PM
To: O'Toole, Daniel <daniel.otoole@davispolk.com>; Matthew Dowd <mdowd@dowdscheffel.com>; Kane, Patrick M.
<PKane@foxrothschild.com>
Cc: McClammy, James I. <james.mcclammy@davispolk.com>; Miller, Benjamin M. <benjamin.miller@davispolk.com>;
Thomson, Daniel J. <daniel.thomson@davispolk.com>; English, Melissa <melissa.english@davispolk.com>; Placey, Sean
<SPlacey@foxrothschild.com>
Subject: Re: FTC et al. v. Syngenta et al. (No. 1:22-cv-00828) & In re Crop Protection Products Loyalty Program Antitrust
Litigation (No. 1:23-md-3062-TDS-JEP)

Daniel,




Sincerely,

Elliot Gee
Associate,




1717 Pennsylvania Avenue, NW, Suite 1025 | Washington, DC 20006
Office: 202.559.9175 | Direct: 650.534.5302
http://www.dowdscheffel.com



From: O'Toole, Daniel <daniel.otoole@davispolk.com>
Date: Tuesday, December 17, 2024 at 10:00 AM
To: Elliot Gee <egee@dowdscheffel.com>, Matthew Dowd <mdowd@dowdscheffel.com>, Kane, Patrick
M. <PKane@foxrothschild.com>
Cc: McClammy, James I. <james.mcclammy@davispolk.com>, Miller, Benjamin M.

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             Case 1:22-cv-00828-TDS-JEP             Document 288          Filed 01/13/25       Page 6 of 27
<benjamin.miller@dayjspolk com>, Thomson, Daniel J. <daniel.thomson@davispolk.com>, English,

Melissa <melissa.english@davispolk.com>, Placey, Sean <SPlacey@foxrothschild.com>
Subject: RE: FTC et al. v. Syngenta et al. (No. 1 :22-cv-00828) & In re Crop Protection Products Loyalty
Program Antitrust Litigation (No. 1:23-md-3062-TDS-JEP)

Matt, Elliot,




Best,
Dan

Daniel O'Toole
Davis Polk & Wardwell LLP
+1 202 962 7166 office
+1 203 883 1123 mobile
daniel.otoo le@davispolk.com


From: O'Toole, Daniel <daniel.otoole@davispo lk.com>
Sent: Wednesday, December 11, 2024 3:34 PM
To: Elliot Gee <egee@dowdscheffel.com>; Matthew Dowd <mdowd@dowdscheffel.com>; Kane, Patrick M.
<PKane@foxrothschild.com>
Cc: Mccl ammy, James I. <james.mcclammy@davispolk.com>; Miller, Benjamin M. <benjamin.miller@davispolk.com>;
Thomson, Daniel J. <daniel.thomson@davispolk.com>; English, Melissa <melissa.english@davispolk.com>; Placey, Sean
<SPlacey@foxrothschild.com>
Subject: RE: FTC et al. v. Syngenta et al. (No. 1:22-cv-00828) & In re Crop Protection Products Loyalty Program Antitrust
Litigation (No. 1:23-md-3062-TDS-JEP)

Matt, Elliot,




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Best,
Dan

Daniel O'Toole
Davis Polk & Wardwell LLP
+1 202 962 7166 office
+1 203 883 1123 mobile
daniel.otoole@davispolk.com


From: O'Toole, Daniel <daniel.otoole@davispo lk.com>
Sent: Tuesday, December 10, 2024 3:22 PM
To: Elliot Gee <egee@dowdscheffel.com>; Matthew Dowd <mdowd@dowdscheffel.com>; Kane, Patrick M.
<PKane@foxrothschild.com>
Cc: Mccl ammy, James I. <james.mcclammy@davispolk.com>; Miller, Benjamin M. <benjamin.miller@davispolk.com>;
Thomson, Daniel J. <daniel.thomson@davispolk.com>; English, Melissa <melissa.english@davispolk.com>
Subject: RE: FTC et al. v. Syngenta et al. (No. 1:22-cv-00828) & In re Crop Protection Products Loyalty Program Antitrust
Litigation (No. 1:23-md-3062-TDS-JEP)




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            Case 1:22-cv-00828-TDS-JEP              Document 288          Filed 01/13/25       Page 8 of 27
Best,
Dan

Daniel O'Toole
Davis Polk & Wardwell LLP
+1 202 962 7166 office
+1 203 883 1123 mobile
daniel.otoole@davispolk.com


From: Elliot Gee <egee@dowdscheffel.com>
Sent: Friday, December 6, 2024 6:33 PM
To: O'Toole, Daniel <daniel.otoole@davispolk.com>; Matthew Dowd <mdowd@dowdscheffel.com>; Kane, Patrick M.
<PKane@foxrothschild.com>
Cc: McClammy, James I. <james.mcclammy@davispolk.com>; Miller, Benjamin M. <benjamin.miller@davispolk.com>;
Thomson, Daniel J. <daniel.thomson@davispolk.com>; English, Melissa <melissa.english@davispolk.com>
Subject: Re: FTC et al. v. Syngenta et al. (No. 1:22-cv-00828) & In re Crop Protection Products Loyalty Program Antitrust
Litigation (No. 1:23-md-3062-TDS-JEP)

Daniel,

Please find attached correspondence as well as Atticus’s current organizational chart, which is being produced as
HIGHLY CONFIDENTIAL – OUTSIDE COUNSEL EYES ONLY.

Sincerely,

Elliot Gee
Associate,




1717 Pennsylvania Avenue, NW, Suite 1025 | Washington, DC 20006
Office: 202.559.9175 | Direct: 650.534.5302
http://www.dowdscheffel.com




From: O'Toole, Daniel <daniel.otoole@davispolk.com>
Date: Tuesday, November 26, 2024 at 11:40 AM
To: Matthew Dowd <mdowd@dowdscheffel.com>, Kane, Patrick M. <PKane@foxrothschild.com>, Elliot
Gee <egee@dowdscheffel.com>
Cc: McClammy, James I. <james.mcclammy@davispolk.com>, Miller, Benjamin M.
<benjamin.miller@davispolk.com>, Thomson, Daniel J. <daniel.thomson@davispolk.com>, English,
Melissa <melissa.english@davispolk.com>
Subject: FW: FTC et al. v. Syngenta et al. (No. 1:22-cv-00828) & In re Crop Protection Products Loyalty
Program Antitrust Litigation (No. 1:23-md-3062-TDS-JEP)

Hi Matt,

Just wanted to see if you had any updates on the below. We are happy to speak today or tomorrow if helpful.

                                                            8



             Case 1:22-cv-00828-TDS-JEP             Document 288          Filed 01/13/25       Page 9 of 27
Best,
Dan

Daniel O'Toole
Davis Polk & Wardwell LLP
+1 202 962 7166 office
+1 203 883 1123 mobile
daniel.otoole@davispolk.com


From: O'Toole, Daniel <daniel.otoole@davispolk.com>
Sent: Friday, November 22, 2024 9:57 PM
To: Matthew Dowd <mdowd@dowdscheffel.com>; Kane, Patrick M. <PKane@foxrothschild.com>; Elliot Gee
<egee@dowdscheffel.com>
Cc: McClammy, James I. <james.mcclammy@davispolk.com>; Miller, Benjamin M. <benjamin.miller@davispolk.com>;
Thomson, Daniel J. <daniel.thomson@davispolk.com>; English, Melissa <melissa.english@davispolk.com>
Subject: RE: FTC et al. v. Syngenta et al. (No. 1:22-cv-00828) & In re Crop Protection Products Loyalty Program Antitrust
Litigation (No. 1:23-md-3062-TDS-JEP)

Matt,

Thank you for the meet and confer earlier today. We are writing with the follow-up items we discussed. We
are available to speak again on Monday at 3-3:30pm or 4-5pm ET, or Tuesday from 10-11am, 11:30-1:30pm,
or 2:30-4pm ET.

Document Collections and Productions

Attached are proposed search terms that Syngenta requests Atticus run over the emails and documents of to-
be-agreed-upon custodians, from 2015 to present.

We understand that Atticus CEO Randy Canady was one custodian for Atticus’s document productions in
response to the FTC’s pre-complaint CID. Please confirm the identities of any other custodians for which
Atticus produced documents in response to the FTC’s CID. Please also send us a recent organizational chart
for Atticus.

Data Productions

In the FTC’s pre-complaint investigation, Atticus produced invoice- and customer-level sales, rebate, cost, and
margin data covering products containing azoxystrobin, s-metolachlor, mesotrione, oxamyl, and rimsulfuron
(file labeled “ATTICUSFTC009534”). The table below contains the active ingredients alleged in the complaints
and certain functional equivalents to those active ingredients. From public information, we understand that
Atticus currently sells products that contain the active ingredients marked with an “X” in the fourth column in
the table below.

We request that Atticus:

    1.   Produce supplemental data, in the form of ATTICUSFTC009534, for all products sold by Atticus from
         2015 (or the earliest date after 2015 for which data are available) to present that contain any active
         ingredient marked with an “X” in the fourth column below (in each instance, either as a single AI product
         or a mixture product); and

    2.   Confirm that Atticus has not sold any products containing any other AI on the below list since 2015 (or
         the earliest date after 2015 for which data are available), or, to the extent that Atticus has, add those
         products into the data production outlined in (1) above.


                                                            9



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                                                                                 Currently Sold by
                                                             Resistance Action
           Category                Active Ingredient                             Atticus per Public
                                                             Committee group
                                                                                    information
         Fungicides         azoxystrobin                    FRAC11                       X
         Fungicides         benzovindiflupyr                FRAC?
         Fungicides         chlorothalonil                  FRAC MS
         Fungicides         fluoxastrobin                   FRAC11
         Fungicides         picoxystrobin                   FRAC11
         Fungicides         pydiflumetofen                  FRAC?
         Fungicides         pyraclostrobin                  FRAC11
         Fungicides         trifloxystrobin                 FRAC11
         Herbicides         fomesafen                       HRAC14                       X
         Herbicides         mesotrione                      HRAC 27                      X
         Herbicides         s-metolachlor/metolachlor       HRAC15                       X
         Herbicides         paraquat                        HRAC 22
         Herbicides         acetochlor                      HRAC 15                      X
         Herbicides         atrazine                        HRAC5
         Herbicides         bicyclopyrone                   HRAC27
         Herbicides         dica mba                        HRAC4                        X
         Herbicides         dimethenamid/dimethenamid-p     HRAC 15
         Herbicides         diquat                          HRAC22                       X
         Herbicides         flumioxazin                     HRAC 14                      X
         Herbicides         fluthiacet-methyl               HRAC 14
         Herbicides         glufosinate                     HRAC 10                      X
         Herbicides         glyphosate                      HRAC9
         Herbicides         isoxaflutole                    HRAC27
         Herbicides         metribuzin                      HRAC5                        X
         Herbicides         pyroxasulfone                   HRAC 15
         Herbicides         saflufenacil                    HRAC 14
         Herbicides         sulfentrazone                   HRAC 14                      X
         Herbicides         tembotrione                     HRAC27
         Herbicides         topramezone                     HRAC27
         Insecticides       lambda-cyhalothrin              IRAC 3A                      X
         Insecticides       abamectin                       IRAC6                        X
         Insecticides       bifenthrin                      IRAC 3A                      X
         Insecticides       cyfluthrin                      IRAC 3A                      X
         Insecticides       Cypermethrin (and variants)     IRAC 3A                      X
         Insecticides       deltamethrin                    IRAC 3A
         Insecticides       esfenvalerate                   IRAC 3A
         Insecticides       imidacloprid                    IRAC4A                       X
         Insecticides       permethrin                      IRAC 3A
         Insecticides       tefluthrin                      IRAC 3A


Daniel O'Toole
Davis Polk & Wardwell LLP


                                                            10



           Case 1:22-cv-00828-TDS-JEP                  Document 288    Filed 01/13/25    Page 11 of 27
+1 202 962 7166 office
+1 203 883 1123 mobile
daniel.otoole@davispolk.com


From: Matthew Dowd <mdowd@dowdscheffel.com>
Sent: Friday, November 22, 2024 10:03 AM
To: O'Toole, Daniel <daniel.otoole@davispolk.com>; Kane, Patrick M. <PKane@foxrothschild.com>; Elliot Gee
<egee@dowdscheffel.com>
Cc: McClammy, James I. <james.mcclammy@davispolk.com>; Miller, Benjamin M. <benjamin.miller@davispolk.com>;
Thomson, Daniel J. <daniel.thomson@davispolk.com>; English, Melissa <melissa.english@davispolk.com>; Crouch, Kim
<KCrouch@foxrothschild.com>
Subject: Re: FTC et al. v. Syngenta et al. (No. 1:22-cv-00828) & In re Crop Protection Products Loyalty Program Antitrust
Litigation (No. 1:23-md-3062-TDS-JEP)

We should be free from 12:30 to 1 PM ET.

From: "O'Toole, Daniel" <daniel.otoole@davispolk.com>
Date: Friday, November 22, 2024 at 10:00 AM
To: Matthew Dowd <mdowd@dowdscheffel.com>, "Kane, Patrick M." <PKane@foxrothschild.com>, Elliot Gee
<egee@dowdscheffel.com>
Cc: "McClammy, James I." <james.mcclammy@davispolk.com>, "Miller, Benjamin M."
<benjamin.miller@davispolk.com>, "Thomson, Daniel J." <daniel.thomson@davispolk.com>, "English,
Melissa" <melissa.english@davispolk.com>, "Crouch, Kim" <KCrouch@foxrothschild.com>
Subject: RE: FTC et al. v. Syngenta et al. (No. 1:22-cv-00828) & In re Crop Protection Products Loyalty Program
Antitrust Litigation (No. 1:23-md-3062-TDS-JEP)

Thanks, Matt. Would you be available 12:30-1:30 ET today?

Daniel O'Toole
Davis Polk & Wardwell LLP
+1 202 962 7166 office
+1 203 883 1123 mobile
daniel.otoole@davispolk.com


From: Matthew Dowd <mdowd@dowdscheffel.com>
Sent: Friday, November 22, 2024 8:29 AM
To: O'Toole, Daniel <daniel.otoole@davispolk.com>; Kane, Patrick M. <PKane@foxrothschild.com>; Elliot Gee
<egee@dowdscheffel.com>
Cc: McClammy, James I. <james.mcclammy@davispolk.com>; Miller, Benjamin M. <benjamin.miller@davispolk.com>;
Thomson, Daniel J. <daniel.thomson@davispolk.com>; English, Melissa <melissa.english@davispolk.com>; Crouch, Kim
<KCrouch@foxrothschild.com>
Subject: Re: FTC et al. v. Syngenta et al. (No. 1:22-cv-00828) & In re Crop Protection Products Loyalty Program Antitrust
Litigation (No. 1:23-md-3062-TDS-JEP)

Dan,

Thank you for the email and for your patience with our reply.

Would you be available for a call later this afternoon?

Best,
Matt
                                                            11



           Case 1:22-cv-00828-TDS-JEP               Document 288         Filed 01/13/25       Page 12 of 27
From: "O'Toole, Daniel" <daniel.otoole@davispolk.com>
Date: Thursday, November 21, 2024 at 1:04 PM
To: Matthew Dowd <mdowd@dowdscheffel.com>, "Kane, Patrick M." <PKane@foxrothschild.com>, Elliot Gee
<egee@dowdscheffel.com>
Cc: "McClammy, James I." <james.mcclammy@davispolk.com>, "Miller, Benjamin M."
<benjamin.miller@davispolk.com>, "Thomson, Daniel J." <daniel.thomson@davispolk.com>, "English,
Melissa" <melissa.english@davispolk.com>, "Crouch, Kim" <KCrouch@foxrothschild.com>
Subject: RE: FTC et al. v. Syngenta et al. (No. 1:22-cv-00828) & In re Crop Protection Products Loyalty Program
Antitrust Litigation (No. 1:23-md-3062-TDS-JEP)

Matt,

Thank you for agreeing to accept service. Syngenta continues to remain willing to work with Atticus regarding
Syngenta's subpoena to narrow or eliminate the potential issues that the court must decide as part of our
motion to compel. Please let us know if you are interested in discussing.

Thanks,
Dan

Daniel O'Toole
Davis Polk & Wardwell LLP
+1 202 962 7166 office
+1 203 883 1123 mobile
daniel.otoole@davispolk.com


From: Matthew Dowd <mdowd@dowdscheffel.com>
Sent: Tuesday, November 19, 2024 4:30 PM
To: Kane, Patrick M. <PKane@foxrothschild.com>; O'Toole, Daniel <daniel.otoole@davispolk.com>; Elliot Gee
<egee@dowdscheffel.com>
Cc: McClammy, James I. <james.mcclammy@davispolk.com>; Miller, Benjamin M. <benjamin.miller@davispolk.com>;
Thomson, Daniel J. <daniel.thomson@davispolk.com>; English, Melissa <melissa.english@davispolk.com>; Crouch, Kim
<KCrouch@foxrothschild.com>
Subject: Re: FTC et al. v. Syngenta et al. (No. 1:22-cv-00828) & In re Crop Protection Products Loyalty Program Antitrust
Litigation (No. 1:23-md-3062-TDS-JEP)

Thank you. We confirm that we accept service.


Matthew J. Dowd
Dowd Scheffel PLLC
1717 Pennsylvania Avenue, NW
Suite 1025
Washington, D.C. 20006
Direct: (202) 573-3853
Office: (202) 559-9175
mdowd@dowdscheffel.com
http://www.dowdscheffel.com
http://www.linkedin.com/in/matthewdowd




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From: "Kane, Patrick M." <PKane@foxrothschild.com>
Date: Tuesday, November 19, 2024 at 10:25 AM
To: "O'Toole, Daniel" <daniel.otoole@davispolk.com>, Matthew Dowd <mdowd@dowdscheffel.com>, Elliot
Gee <egee@dowdscheffel.com>
Cc: "McClammy, James I." <james.mcclammy@davispolk.com>, "Miller, Benjamin M."
<benjamin.miller@davispolk.com>, "Thomson, Daniel J." <daniel.thomson@davispolk.com>, "English,
Melissa" <melissa.english@davispolk.com>, "Crouch, Kim" <KCrouch@foxrothschild.com>
Subject: RE: FTC et al. v. Syngenta et al. (No. 1:22-cv-00828) & In re Crop Protection Products Loyalty Program
Antitrust Litigation (No. 1:23-md-3062-TDS-JEP)



Mr. Dowd and Mr. Gee,

For your records here are the same documents filed last night in the MDL. You will also be receiving all
documents filed in both cases in hard copy tomorrow via FedEx.

Pat




 Patrick M Kane
 Partner
 230 N. Elm Street
 Suite 1200
 Greensboro, NC 27401
     (336) 378-5352
     (336) 378-5400
     pkane@foxrothschild.com


Learn about our new brand.




From: O'Toole, Daniel <daniel.otoole@davispolk.com>
Sent: Monday, November 18, 2024 11:33 PM
To: mdowd@dowdscheffel.com; egee@dowdscheffel.com
Cc: McClammy, James I. <james.mcclammy@davispolk.com>; Miller, Benjamin M. <benjamin.miller@davispolk.com>;
Kane, Patrick M. <PKane@foxrothschild.com>; Thomson, Daniel J. <daniel.thomson@davispolk.com>; English, Melissa
<melissa.english@davispolk.com>
Subject: [EXT] FTC et al. v. Syngenta et al. (No. 1:22-cv-00828) & In re Crop Protection Products Loyalty Program
Antitrust Litigation (No. 1:23-md-3062-TDS-JEP)

Mr. Dowd and Mr. Gee,

Attached please find Syngenta's motion to compel filed today in the above-captioned cases in the United
States District Court for the Middle District of North Carolina relating to the subpoena issued by Syngenta to
                                                        13



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your client Atticus, LLC. Please confirm that you still represent Atticus in connection with this subpoena as
previously indicated by your acceptance of service of the subpoena and service of Atticus’s responses and
objections, and please also confirm your ability to accept service of this motion and brief.

If we do not receive confirmation of your continued representation by 5PM ET tomorrow, Tuesday, November
19, 2024, we will serve this on the registered agent of Atticus.

Regards,
Dan O’Toole
Daniel O'Toole
+1 202 962 7166 office
+1 203 883 1123 mobile
daniel.otoole@davispolk.com


Davis Polk & Wardwell LLP
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                                1717 Pennsylvania Avenue, NW
                                           Suite 1025
                                    Washington, D.C. 20006
                                         (202) 559-9175
                                 https://www.dowdscheffel.com



Via Electronic Mail

December 6, 2024

Daniel O’Toole
Davis Polk & Wardwell LLP
901 15th Street NW,
Washington, D.C. 20005
daniel.otoole@davispolk.com

       Re:     Rule 45 Subpoena to Atticus, LLC in Federal Trade Commission v.
               Syngenta Crop Protection AG, No. 1:22-CV-00828 (M.D.N.C.)

Dear Daniel:

       We write on behalf of Atticus, LLC (“Atticus”) to provide Syngenta AG, Syngenta Crop
Protection LLC, Syngenta Corp., and Syngenta Crop Protection (“Syngenta”) with an update
on Atticus’s objections and response to the Syngenta subpoenas served on Atticus on or
around August 6, 2024. This letter continues Atticus’s good-faith effort to resolve the pending
dispute concerning the subpoenas. While Atticus maintains its objections to the subpoenas,
Atticus remains willing to undertake reasonable efforts for a third party to produce the re-
quested information and documents.

        First, as Syngenta certainly understands, Syngenta has an obligation to minimize At-
ticus’s burden and expenses in responding to a Rule 45 subpoena. Courts are required to
allocate costs and fees for significant expenses incurred by a third party. See, e.g., Fed. R.
Civ. P. 45(d)(2)(B)(ii); Linder v. Calero-Porcarrero, 251 F.3d 178, 182 (D.C. Cir. 2001); Med.
Components, Inc v. Classic Med., Inc., 210 F.R.D. 175, 180 n.9 (M.D.N.C. 2002) (“[T]he court
should give special weight to the unwanted burden thrust upon non-parties when evaluating
the balance of competing needs.” (citing In re Cusumano v. Microsoft Corp., 162 F.3d 708, 717
(1st Cir. 1998))). Given the breadth of Syngenta’s subpoena and the burden imposed by it on
Atticus, Atticus intends to seek reimbursement of the anticipated significant costs for re-
sponding to the subpoena. See Fed. R. Civ. P. 26(c)(1)(B) (“the allocation of expenses”). Please
confirm whether Syngenta will agree to reimburse Atticus for its reasonable costs and ex-
penses for responding to the subpoena.




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December 6, 2024
Daniel O’Toole

        Second, in response to your November 22, 2024 email, Atticus provides several correc-
tions to your active-ingredient table. Based on our review, Atticus has at one or more times
since 2015 sold pesticide products containing one or more of the following active ingredients:
azoxystrobin; chlorothalonil; fomesafen; mesotrione; S-metolachlor/metolachlor; paraquat;
dicamba; diquat; flumioxazin; glufosinate; metribuzin; sulfentrazone; lambda-cyhalothrin;
abamectin; bifenthrin; cyfluthrin; zeta-cypermethrin; deltamethrin; and imidacloprid.

        Third, many of Syngenta’s proposed search strings are wildly overbroad. For example,
Syngenta’s proposed Boolean search string for “Product Concerns” seeks a set of twenty-one
words located within twenty words of a second set of thirty-one words. Accordingly, this
search string alone results in 651 distinct combinations of search terms. The proposed search
string for “Relevant Crop Protection Product Business Plans” contains two internal “within”
terms that further add to the extraordinary breadth of the proposed search. Indeed, our
preliminary analysis of the proposed search strings indicate that such search would identify
tens of thousands of documents amounting to hundreds of gigabytes of data. Such a search
is plainly not reasonable for a third party.

      We are willing to meet and confer to discuss options for reaching a reasonable com-
promise.

       Fourth, Atticus confirms that Randy Canady was a custodian of documents produced
in response to the FTC’s CID. Other custodians of the documents produced in response to
the CID will be identifiable in the metadata associated with that production.

       Fifth, as requested, please find attached Atticus’s current organizational chart, which
is being produced as HIGHLY CONFIDENTIAL—OUTSIDE COUNSEL EYES ONLY, in
accordance with the applicable Protective Orders.

        Atticus proposes that the parties arrange a meet and confer during the week of De-
cember 9, 2024, to continue the parties’ ongoing discussion. Please also let us know if there
is any further information that Syngenta would like at this time. Thank you again for your
patience as Atticus works to prepare a responsive production while minimizing the cost and
burden on Atticus as a non-party to this litigation.



                                                         Sincerely,




                                                         Matthew J. Dowd

                                                         Counsel for Non-Party
                                                         Atticus, LLC




Dowd Scheffel PLLC                            2

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